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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

DOUGLAS KONOPASEK,
304 South Ash
Kellyville, OK 74039,

Case No. 2:17-CV-2681
Plaintiff,

¥v.

OZARK KENWORTH, INC. d/b/a MHC
KENWORTH,
Serve Registered Agent:
Capitol Corporate Services, Inc.
706 SW Jackson St., Ste. 100
Topeka, KS 66603,

and

O’DONNELL-WAY CONSTRUCTION
COMPANY, INC.,,

Serve Registered Agent:

John O’Donnelil

7321 High Drive

Prairie Village, KS 66208,

and

SETH BECKMAN,
Serve at:
16820 S. Ridgeview Road
Olathe, KS 66062,

Newer Semel Nema! Smee! Snape! nme me! See Smee! Semen! Spee” Samet’ Neer’ Smee Stem! Seamer’ Somer” Sage’ Saapee’ Semmee’ Ser” Sema” Stem! Sate’ Soeur” Soemme” Sour moma”

Defendants.
PLAINTIFE’S COMPLAINT FOR DAMAGES
COMES NOW Plaintiff Douglas Konopasek, by counsel, and for his claims against

Defendants, alleges and states as follows:

 
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PARTIES

1. Plaintiff Douglas Konopasek (hereinafter “Konopasek”) is an adult resident of
Kellyville, Oklahoma.

2. Defendant Ozark Kenworth, Inc. d/b/a MHC Kenworth (hereinafter “Ozark”) is a
Missouri corporation authorized to conduct business in the State of Kansas and with its principal
place of business located in Leawood, Kansas.

3. Defendant 0’ Donnell- Way Construction Company, Inc. (hereinafter “O’ Donnell”)
is a Kansas corporation authorized to conduct business in the State of Kansas and with its principal
place of business located in Prairie Village, Kansas.

4, Defendant Seth Beckman (hereinafter “Beckman”) is an adult resident of Olathe,
Kansas.

AGENCY

5. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, Defendant Ozark was acting by and through its actual, ostensible or apparent
agents and employees.

6. At the time of the negligent acts complained of herein and at all times mentioned,
Defendant Ozark’s actual and apparent agents and employees were acting within the course and
scope of their employment.

7, At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, Defendant O’ Donnell was acting by and through its actual, ostensible or

apparent agents and employees, including but not limited Defendant Beckman.

 
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8. At the time of the negligent acts complained of herein and at all times mentioned,
Defendant O’Donnell’s actual and apparent agents and employees, including but not limited to
Defendant Beckman, were acting within the course and scope of their employment.

VENUE AND JURISDICTION

9, Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(a) as the amount
in controversy exceeds $75,000.00, Further, Defendant Ozark is a citizen of Missouri,
Defendants O’ Donnell and Beckman are citizens of Kansas, Defendants Ozark and O’ Donnell
maintain their principal places of business in Kansas, and Plaintiff Konopasek is a citizen of
Oklahoma.

10. Defendants are also subject to the jurisdiction of this Court because of their
transaction of business, making of contracts, owning, using or possessing real estate and
commission of tortious acts in the State of Kansas. Defendants are subject to the general
jurisdiction of this Court in that they have substantial, continuous and systematic contacts with the
State of Kansas through the sale of their services and products within the State of Kansas.
Furthermore, they regularly sell their products and services in Kansas, maintain business
relationships with businesses in Kansas; have agents in Kansas and regularly advertise their
products and services in Kansas. Defendants are, therefore, subject to the jurisdiction of this
Court and legally responsible for any judgment entered against them.

11. Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b) because Defendant
Ozark maintains a registered agent in the District of Kansas, Defendants O’ Donnell! and Ozark

reside in Johnson County, Kansas which lies in the District of Kansas, Defendants Ozark and

 
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O’Donnell maintain their principal places of business in the District of Kansas, and the acts or
omissions complained of occurred in the District of Kansas.
FACTS OF THE OCCURRENCE

12. In 2015, Defendant Ozark was responsible for routine maintenance of tractor-
trailers owned by Hampel Oil, Inc.

13. Hampel Oil, Inc. maintains its principal place of business at 2920 Fairfax
Trafficway in Kansas City, Kansas.

14, | The maintenance of Hampel Oil, Inc. tractor-trailers was performed by Defendant
Ozark at 1524 N, Corrington Ave. in Kansas City, Missouri.

15, It was foreseeable to Defendant Ozark that the Hampei Oil, Inc. vehicles it
maintained in Missouri would be operated in Kansas.

16. ~ Routine maintenance by Defendant Ozark included maintenance of the brakes on
Hampel Oil, Inc. tractor-trailers.

17, Among the vehicles that Defendant Ozark performed routine maintenance on was
a 2004 Peterbilt Model #357, VIN #2NPALU0X04M817213 (hereinafter “the Peterbilt”).

18. On the last service appointment prior to December 8, 2015, Defendant Ozark
generally serviced the Peterbilt but did not service the Peterbilt’s brakes.

19. Atapproximately 7:00 a.m. on December 8, 2015, Plaintiff Konopasek was driving
a tractor-trailer southbound in the right lane of Roe Avenue in Overland Park, Kansas.

20. At the same time, Defendant Beckman was driving Defendant O’Donneil’s dump
truck with a trailer northbound on Roe Avenue.

21. Road conditions were clear and dry.

 
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22. ‘Traffic flow was moderate on Roe Avenue at the time of the occurrence.

23. As Plaintiff Konopasek approached the entrance to Roe Park on the west side of
Roe Avenue, Defendant Beckman turned left directly in front of Plaintiff Konopasek’s oncoming
vehicle,

24. Defendant Beckman made his left turn slowly into Roe Park.

25. There was another vehicle in the left southbound lane of Roe Avenue next to
Plaintiff Konopasek’s vehicle.

26. As Defendant Beckman’s dump truck with a trailer proceeded with a left turn in
front of Plaintiff Konopasek, Plaintiff applied the brakes on the Peterbilt to slow his speed.

27. A low air alert alarm went off in the Peterbilt and Plaintiff Konopasek could not
brake.

28. The Peterbilt driven by Plaintiff Konopasek collided with Defendant Beckman’s
dump truck.

29. Plaintiff Konopasek sustained injuries from the crash that have required extensive
medical treatment.

COUNT I
Negligence
(Plaintiff v. Defendant Ozark)

30. — At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, Defendant Ozark owed certain duties to Plaintiff Konopasek, including but not
limited to the duty to act in a reasonable, cautious and prudent fashion in the maintenance and

servicing of the Peterbilt tractor-trailer.

31. The acts and omissions of Defendant Ozark are negligent and careless for the

 
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following reasons:

a. Failure to service the Peterbilt’s brakes;
b. Failure to properly service the Peterbilt’s brakes;
¢, Failure to recognize that the Peterbilt’s brakes needed to be serviced;

d. Failure to properly maintain the Peterbilt;

e, Other negligent actions and omissions, which will be supplemented after
discovery.
32. Upon information and belief, Plaintiff was unable to determine that his injuries

were caused by the negligent act(s) of Defendant Ozark until after the crash occurred.

33. As a direct and proximate result of Defendant Ozark’s negligence in the
maintenance of the motor vehicle, Plaintiff suffered physical injuries that required health care
treatment and medical expenses and will likely require additional health care treatment and
medical expenses in the future. Plaintiff's damages are ongoing and permanent.

34. As a direct and proximate result of Defendant Ozark’s negligence in the
maintenance of the motor vehicle, Plaintiff experienced and continues to experience substantial
pain, suffering and mental anguish.

35. As a direct and proximate result of Defendant Ozark’s negligence in the
maintenance of the motor vehicle, Plaintiff has suffered lost wages from being unable to work.

36. As a direct and proximate result of Defendant Ozark’s negligence in the
maintenance of the motor vehicle, Plaintiff has suffered loss of enjoyment of life and lost

household services.

 
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37, Asa direct and proximate result of Defendant Ozark’s negligence in the
maintenance of the motor vehicie, Plaintiff's spouse has also suffered loss of consortium,
services, attention, care and guidance as a result of plaintiff's severe and permanent personal
injuries and disability.

38. As a direct and proximate result of Defendant Ozark’s negligence in the
maintenance of the motor vehicle, Plaintiff suffered damages in excess of $75,000.00.

WHEREFORE, Plaintiff Konopasek requests this Court grant Judgment in his favor and
against Defendant Ozark and for compensatory damages in excess of $75,000.00, for taxable court
costs, post-judgment interest and any other remedy as this Court deems just and proper.

COUNT II
Negligence
(Plaintiff vy. Defendants O’ Donnell and Beckman)

39, At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, Defendant Beckman was an employee of Defendant O’ Donnell.

40, At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, Defendant Beckman was acting within the course and scope of his employment
with Defendant O’ Donnell.

41. At the time of the negligent acts complained of herein and at all times mentioned,
Defendants O’Donnell and Beckman owed Plaintiff a duty to operate the motor vehicle using the
highest degree of care so as not to injure motorists or cause Plaintiff's injuries while utilizing a
public roadway in Kansas.

42. The acts and omissions of Defendants O’Donnell and Beckman are negligent and

careless for the following reasons:

 
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a. Failure to yield the right of way while making a left turn;

b. Failure to maintain a proper lookout for other vehicles on the roadway;

c. Inattentive operation of a motor vehicle;

d, Operation of a motor vehicle in an incompetent state of driving;

e. Failure to keep a motor vehicle under control;

£ Failure to drive within a range of vision in order to avoid colliding with

other vehicles on the roadway;
g. Failure to take evasive action;
h. Careless driving;
i, Reckless driving;
j. Upon information and belief, talking, texting, or attempting to use a GPS
device on a cellular phone or other PDA device, thereby distracting
Defendant Beckman’s attention from the traveled roadway and other traffic;
k. Negligence and negligence per se for the violation of laws, ordinances, and
statutes of the state of Kansas;
L Other negligent actions and omissions, which will be supplemented after
discovery.
43, As a direct and proximate result of Defendants O’Donnell and Beckman’s
negligence in the operation of the motor vehicle, Plaintiff Konopasek suffered physical injuries
that required health care treatment and medical expenses and will likely require additional health

care treatment and medical expenses in the future. Plaintiff's damages are ongoing and permanent.

 
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44. As a direct and proximate result. of Defendants O’Donnell and Beckman’s |
negligence in the operation of the motor vehicle, Plaintiff Konopasek experienced and continues
to experience substantial pain, suffering and mental anguish.

45. As a direct and proximate result of Defendants O’Donnell and Beckman’s
negligence in the operation of the motor vehicle, Plaintiff Konopasek has suffered lost wages from
being unable to work.

46, | As a direct and proximate result of Defendants O’Donnell and Beckman’s
negligence in the operation of the motor vehicle, Plaintiff Konopasek has suffered loss of
enjoyment of life and lost household services.

47, As a direct and proximate result of Defendants O’Donnell and Beckman’s
negligence in the operation of the motor vehicle, Plaintiff's spouse has also suffered loss of
consortium, services, attention, care and guidance as a result of plaintiffs severe and permanent
personal injuries and disability.

48. As a direct and proximate result of Defendants O’Donnell and Beckman’s
negligence in the operation of the motor vehicle, Plaintiff Konopasek suffered damages in excess
of $75,000.00.

WHEREFORE, Plaintiff Konopasek requests this Court grant Judgment in his favor and
against Defendants O’Donneil and Beckman and for compensatory damages in excess of
$75,000.00, for taxable court costs, post-yudgment interest and any other remedy as this Court

deems just and proper.

 
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REQUEST FOR JURY TRIAL

Plaintiff hereby requests a triai by jury in this matter.

Respectfully submitted,
VOTAVA NANTZ & JOHNSON, LLC

BY: /4/ Brett Votava

BRETT VOTAVA KS #20655
9237 Ward Parkway, Suite 240
Kansas City, MO 64114

(816) 895-8800

(816) 895-8801 FAX

bvotava@vnijlaw.com
ATTORNEYS FOR PLAINTIFF

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